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            EXHIBIT 27
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                  HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY

1                UNITED STATES DISTRICT COURT
2               NORTHERN DISTRICT OF CALIFORNIA
3                    SAN FRANCISCO DIVISION
4     _____________________________
                                    )
5     ASETEK DANMARK A/S,           )
                                    )
6               Plaintiff and       )
                Counterdefendant, )
7                                   )
      vs.                           ) No. 3:19-CV-00410-EMC
8                                   )
      COOLIT SYSTEMS INC.,          )
9                                   )
                Defendant and       )
10              Counterclaimant.    )
                                    )
11    COOLIT SYSTEMS USA INC.,      )
      COOLIT SYSTEMS ASIA PACIFIC )
12    LIMITED, COOLIT SYSTEMS       )
      (SHENZHEN) CO., LTD.          )
13                                  )
                Defendants,         )
14                                  )
      CORSAIR GAMING, INC., and     )
15    CORSAIR MEMORY, INC.          )
                                    )
16              Defendants.         )
      _____________________________)
17
18         HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
19              VIDEOTAPED REMOTE DEPOSITION OF
20                  DAVID B. TUCKERMAN, Ph.D.
21                   Lake Stevens, Washington
22                 Thursday, December 30, 2021
23                   Volume I, Pages 1 - 275
24    Reported by: CATHERINE A. RYAN, RMR, CRR,
      CSR No. 8239
25    Job No. 4997333

                                                                Page 1

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1                UNITED STATES DISTRICT COURT
2               NORTHERN DISTRICT OF CALIFORNIA
3                    SAN FRANCISCO DIVISION
4     _____________________________
                                    )
5     ASETEK DANMARK A/S,           )
                                    )
6               Plaintiff and       )
                Counterdefendant, )
7                                   )
      vs.                           ) No. 3:19-CV-00410-EMC
8                                   )
      COOLIT SYSTEMS INC.,          )
9                                   )
                Defendant and       )
10              Counterclaimant.    )
                                    )
11    COOLIT SYSTEMS USA INC.,      )
      COOLIT SYSTEMS ASIA PACIFIC )
12    LIMITED, COOLIT SYSTEMS       )
      (SHENZHEN) CO., LTD.          )
13                                  )
                Defendants,         )
14                                  )
      CORSAIR GAMING, INC., and     )
15    CORSAIR MEMORY, INC.          )
                                    )
16              Defendants.         )
      _____________________________)
17
18              Videotaped remote deposition of DAVID B.
19    TUCKERMAN, Ph.D., Volume I, taken on behalf of
20    Defendant and Counterclaimant, by way of
21    video-telecommunication with the Witness appearing
22    in Lake Stevens, Washington, beginning at 9:04 a.m.
23    and ending at 7:12 p.m., on Thursday, December 30,
24    2021, before CATHERINE A. RYAN, Certified Shorthand
25    Reporter No. 8239.

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                                                                Page 3

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3     Exhibit 163 "U.S. PATENT:          8,240,362, ISSUE DATE:          57

4                    August 14, 2012"; Bates

5                    ASE-CLT00008003 - ASE-CLT00008029

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7     Exhibit 78     "Laid-open Patent 2003-0031027"; Bates              59

8                    COOLIT0004768 - COOLIT0004785

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10    Exhibit 168 "U.S. PATENT:          10,599,196, ISSUE DATE:         75

11                   March 24, 2020"; Bates ASE-CLT00047334

12                   - ASE-CLT00047369

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16                   Patent:    Apr. 30, 2019"; Bates

17                   COOLIT0004352 - COOLIT0004378

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19    Exhibit 167 "U.S. PATENT:          10,613,601, ISSUE DATE:     244

20                   April 07, 2020"; Bates ASE-CLT00048067

21                   - ASE-CLT00048090

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1     Lake Stevens, Washington; Thursday, December 30, 2021

2                             9:04 a.m.

3

4                 THE VIDEOGRAPHER:     Good morning.      We are

5     going on the record at 9:04 a.m. on December 30th,             09:04:32

6     2021.

7                 This is Media Unit 1 of the video-recorded

8     deposition of Dr. David Tuckerman, taken by counsel

9     in the matter of Asetek Danmark A/S versus CoolIT

10    Systems, Incorporated, and all related                         09:04:50

11    cross-actions, filed in the United States District

12    Court for the Northern District of California, case

13    No. 319-CV-00410-EMC.

14                This deposition is being held by Veritext

15    Virtual via Zoom web conferencing.                             09:05:09

16                My name is Soseh Kevorkian, from the firm

17    Veritext, and I'm the videographer.         Our court

18    reporter is Catherine Ryan, also from the firm

19    Veritext.

20                At this time, would counsel and all                09:05:21

21    present please identify themselves for the record.

22                MR. R. CHEN:   Yes.     This is Reuben -- oh,

23    go ahead, Arpita.

24                MS. BHATTACHARYYA:      This is Arpita

25    Bhattacharyya from Finnegan for Plaintiff Asetek               09:05:31

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1     Danmark A/S.                                                 09:05:37

2                MR. R. CHEN:    This is Reuben Chen from

3     Cooley LLP for CoolIT and Corsair, and with me is my

4     co-counsels, Kyle Chen and Ken Dyer.

5                THE VIDEOGRAPHER:     Okay.     Thank you.        09:05:54

6                Is that -- I think that's it or --

7                THE WITNESS:    Do I have -- should I

8     introduce myself, or does that come later?

9                MR. R. CHEN:    Well, Doctor, we're going to

10    swear you in in just a minute.        Thank you.             09:06:06

11               THE VIDEOGRAPHER:     Catherine, whenever

12    you're ready.

13

14                    DAVID B. TUCKERMAN, Ph.D.,

15    having been administered an oath, was examined and           09:06:25

16    testified as follows:

17

18                           EXAMINATION

19    BY MR. R. CHEN:

20          Q    Good morning, Dr. Tuckerman.                      09:06:27

21          A    Good morning.

22          Q    Now, I know this is your third deposition

23    in this case, but, for the record, could you please

24    state your name.

25          A    David Bazeley -- middle name                      09:06:38

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1      simulation.       You certainly wouldn't spend the money           10:14:35

2      and tool things for something that, you know,

3      someone might have made a goof, you know, or not

4      simulated it properly.

5                     MR. R. CHEN:   All right.     Well, I think         10:14:47

6      we've been going for over an hour, so,

7      Dr. Tuckerman, would you like to take like a

8      ten-minute break, or would you like to keep going?

9                     THE WITNESS:   Well, I'd just assume -- I

10     mean, unless people want to take a break, I'm                      10:15:04

11     actually okay continuing for -- for a bit.             This is

12     kind of a funny day where it's -- I've got eight

13     inches of snow outside.        It's hard for me to go

14     outside, and, you know, I do have another deposition

15     tomorrow.       So I don't want it to drag on too late             10:15:19

16     tonight, so, you know --

17                    MR. R. CHEN:   I'll try to be efficient,

18     yeah.       So why don't we continue, then, if there are

19     no objections to that.

20                    THE WITNESS:   Yeah.                                10:15:32

21                    MR. R. CHEN:   Okay.    Great.    All right.

22             Q      As to their shapes, would you agree that a

23     curved blade has a different shape than a straight

24     blade?

25                    MS. BHATTACHARYYA:     Objection.     Vague.        10:15:46

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1                   THE WITNESS:     Well, "curved" and                 10:15:54

2      "straight" certainly mean different things, for --

3      for sure.

4      BY MR. R. CHEN:

5           Q       What is your definition of curved blades?           10:16:09

6           A       A -- okay.     A definition of curved blade.

7      A blade that has an -- an arc to it.             It's not --

8      it's not everywhere linear.

9           Q       What is your definition of radial blades?

10          A       So if I'm -- if I'm looking down on the --          10:17:11

11     on the impeller and -- you know, so straight down

12     looking down along the axis of rotation, okay, the

13     blade -- repeat the question, by the way, just to

14     make sure I'm --

15          Q       Again, what is your definition of radial            10:17:47

16     blades?

17          A       Right.   Okay.    So as I'm looking down on

18     the axis of rotation, I've got -- the impeller is

19     generally mounted on, like, a circular disk or

20     whatever, and the blade that I'm looking -- the                  10:18:09

21     blades that I'm looking at would need to be along

22     the -- the radius of that -- the radius of that

23     circle.     So they -- they don't have to go all the

24     way to the center.        In fact, they can't because

25     normally that's where your inlet is, and they don't              10:18:31

                                                                      Page 53

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1      actually always have to go to the edge because                 10:18:36

2      you've got to have some clearance, but they have to

3      be along the radius.         They have to be coincident

4      with radial lines drawn from the center going

5      outward, and that's the best way I can describe it.            10:18:50

6           Q     Okay.     Okay.     I think I understand what

7      you're saying.      So I think you're saying that radial

8      blades have to intersect at the center of rotation.

9                 Is that correct or not quite accurate?

10          A     No, that's not what I said.                         10:19:13

11          Q     Okay.

12          A     I said that the blade needs to -- whatever

13     portion of blade there is needs to be aligned over a

14     radial -- over a radius.         So if I draw -- if I draw

15     a radius line, you know, geometric radius from the             10:19:46

16     center going outward from the center, then the --

17     wherever the blade is needs to be coincident with --

18     with that radius, but I didn't say anything about it

19     going all the way to the center.

20          Q     Right.     If you were -- if one were to            10:20:08

21     continue to extend the blade after it reaches --

22                Actually, let's -- let's do this.        Let's

23     go ahead and let's take a break --

24          A     All right.

25                MR. R. CHEN:        -- a five-minute break.         10:20:34

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1      with radii -- I mean, you know, the blades -- the             10:30:53

2      blades are three-dimensional, right?          So we're

3      talking about a view from the top, a projection onto

4      two dimensions, okay, and if the blade -- you know,

5      if you -- if you draw a -- if you imagine a radius,           10:31:07

6      you know, aligned -- drawn from the center outward

7      to infinity, okay, but starting at the center of

8      rotation, if -- if the blade anywhere -- is

9      anywhere -- if the blade -- if a blade can be

10     aligned entirely over a portion of that -- you know,          10:31:34

11     of one of those radius lines, then it's a radial

12     blade.     If it deviates anywhere from that along its

13     length, it is no longer radial.

14          Q       Is the term "curved blades" broader or

15     narrower than the term "nonradial blades"?                    10:32:01

16          A       Well, it is a form of nonradial blade.

17     Certainly, you can't be curved and be radial at the

18     same time.     So it would be a -- I mean, it's a

19     subset of the class of nonradial blades, a curved

20     blade would be.                                               10:32:38

21          Q       So the terms "curved blades" and

22     "nonradial blades" do not have the same scope,

23     correct?

24                  MS. BHATTACHARYYA:    Objection.      Vague.

25     Calls for a legal conclusion.                                 10:32:57

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1                  THE WITNESS:    A curve, to me, implies that       10:33:11

2      there is, you know, some nonlinearity to the shape

3      of the blade so that it, you know, has an arc to it.

4      So they're not identical terms, no.

5                  MR. R. CHEN:    Okay.     Let me introduce an      10:33:36

6      exhibit that is previously marked as Exhibit 163.

7                  (Exhibit 163 was introduced.)

8      BY MR. R. CHEN:

9           Q      So, Dr. Tuckerman, do you see in the

10     Marked Exhibits folder Exhibit 163?                            10:34:26

11          A      I do.

12          Q      Okay.

13          A      Give me just a moment to download it so I

14     can put it in its own window.

15          Q      Sure.   Yeah.   No.     Please go ahead and do     10:34:38

16     that, and while you're doing that, Exhibit 163, for

17     the record, is US Patent No. 8,240,362, and the

18     specific exhibit has Bates Nos. ASE-CLT00008003 to

19     -8029.

20                 And, Dr. Tuckerman, after you've                   10:35:20

21     downloaded it, if I could ask you to go to claim 17

22     at the very end of this exhibit.

23          A      Okay.

24          Q      I'd like you to take a look at the claim

25     language.    Let me know when you're -- when you're at         10:35:39

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1      claim 17, and I'll point to -- point you to the               10:35:41

2      particular limitation.

3           A     Yeah.   Let me -- let me just read the

4      whole claim, though.     Do you want to tell me which

5      limitation you're going to focus on?                          10:36:06

6           Q     Yeah.   Go ahead and look at the entire

7      claim, and the limitation that I'm going to ask you

8      about is a pump including a motor and an impeller

9      having curved blades, and, specifically, I'm going

10     to focus on the language:       an impeller having curved     10:36:19

11     blades.

12          A     Okay.   So that's in the second-to-last

13     clause?

14          Q     That's correct, yep.

15          A     Okay.   All right.     So let me just read         10:36:31

16     through the whole claim so I have context.

17                (Pause.)

18          A     All right.

19          Q     Okay.   The claim language requires that

20     the blades of the impellers have to be curved,                10:38:59

21     correct?

22          A     Yes, that is how I read it.

23          Q     And the adjective "curved" modifies the

24     noun "blades," correct?

25          A     Yes.                                               10:39:13

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1      you had used Dr. Stein's simulation results.          So at      18:26:33

2      that time, you were not shown your report.          So I'm

3      going to show your report and direct you to that

4      paragraph so that if -- if there was any answer that

5      you wanted to give in the context of your report,                18:26:50

6      you can do that.

7                   Your report, which is the infringement

8      report for the Asetek patents, is Exhibit 291.

9                   Do you have that handy?

10          A       I do.                                               18:27:06

11          Q       Let me direct you to paragraph 290 of

12     Exhibit 291.

13          A       Okay.

14          Q       Go ahead and read paragraph 290 of -- you

15     can -- you can read it silently.         When you are done,      18:27:31

16     you'll let me know, and I will ask you some

17     questions.

18          A       Okay.

19                  (Pause.)

20          A       I've read that paragraph.                           18:28:57

21          Q       Okay.   Starting in the second sentence in

22     paragraph 290 of Exhibit 291, you say that "Although

23     the blades in the impeller in the H100i Liquid

24     Cooler are not literally curved, they are offset and

25     swept back compared with radial blades (which are                18:29:24

                                                                     Page 247

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1      traditionally understood to be what comprise a                  18:29:27

2      'straight-blade impeller').      As a result, the

3      impeller in the H100i Liquid Cooler (hereinafter the

4      'CoolIT impeller') is functionally equivalent to an

5      impeller with backward-curved blades, and thus the              18:29:44

6      H1" -- "H100i Liquid Cooler (and the other accused

7      CoolIT/Corsair products) infringe claim 17 under the

8      doctrine of equivalents."

9                 Do you see that?

10          A     Yes.                                                 18:30:05

11          Q     Is that opinion independent of Dr. Stein's

12     simulation results?

13                MR. R. CHEN:   Objection.       Leading.

14     Outside the scope of my examination.

15                THE WITNESS:   Well, my knowledge of pump            18:30:31

16     fluid mechanics is that the sweep angle at the exit

17     is primarily the determinant of -- the sweep angle,

18     as it intercepts the circumference of -- of the

19     volute, is primarily the determinant of how the pump

20     performs and what the pump curve looks like.                    18:30:56

21                And so my expectation was that a curved

22     blade -- they -- in particular, these are

23     backward-swept blades.    We're talking about both --

24     both the curved blade that Dr. Stein simulated and

25     the CoolIT linear but not radial blades.
                                        blades            Both of      18:31:23

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1      those have a -- an exit angle that is not                          18:31:31

2      perpendicular to -- to the circumference.            It's not

3      a radial exit angle.          It's -- it's -- it has a sweep

4      back.       And so because that sweep back angle at the

5      exit is the primary determinant of how the pump                    18:31:53

6      behaves, I expected that there would be similar

7      performance.       I thought Dr. Stein's data was

8      supportive of that.

9                     So I would say that gave additional

10     confidence, but I -- it would have been my                         18:32:11

11     expectation to -- that this result would have been

12     true, that the performance would be similar even

13     without the simulations.

14     BY MS. BHATTACHARYYA:

15             Q      And just so I'm clear, you are saying that          18:32:29

16     the performance of CoolIT's impeller would be --

17     strike that.

18                    Would it be fair to say that your

19     expectation was, even before seeing the simulation

20     results, that CoolIT's impeller would behave like a                18:32:49

21     backward-curved impeller?

22                    MR. R. CHEN:     Objection.   Leading.

23                    THE WITNESS:     That was my expectation

24     prior to the simulation.

25     //

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1      BY MS. BHATTACHARYYA:                                        18:33:08

2             Q     And does Dr. Stein's simulation support

3      that -- support your opinion or expectation that

4      CoolIT's impeller behaved like a backward-curved

5      impeller?                                                    18:33:26

6                   MR. R. CHEN:   Objection.     Leading.

7                   THE WITNESS:   It did -- it did support it,

8      yes.

9      BY MS. BHATTACHARYYA:

10            Q     And you said that the sweep angle at the        18:33:40

11     exit is the primary determinant of how pump

12     impellers behave.

13                  Did I get that right?

14                  MR. R. CHEN:   Objection.     Leading.

15                  THE WITNESS:   It is -- it is a -- it's the     18:33:58

16     most important factor, I would say, yes.

17     BY MS. BHATTACHARYYA:

18            Q     And is the sweep angle at the exit of

19     CoolIT's impeller blades the same as you would see

20     with a backward-curved impeller blade?                       18:34:27

21                  MR. R. CHEN:   Objection.     Leading.

22                  THE WITNESS:   Well, you know, there's a

23     variety of amounts of sweep that you can have in a

24     design.     So all I can really say is -- is that I

25     would expect that a curved blade that has a similar          18:34:53

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1      sweep angle at the exit would behave comparably to           18:35:04

2      the -- you know, the linear nonradial blades with --

3      with the same amount of sweep.

4      BY MS. BHATTACHARYYA:

5           Q     And by "linear nonradial blades," are you         18:35:18

6      referring to CoolIT's impeller blades?

7                 MR. R. CHEN:   Objection.       Leading.

8                 THE WITNESS:   Yes.     That's what I'm

9      referring to in this case, yes.

10     BY MS. BHATTACHARYYA:                                        18:35:31

11          Q     Would you agree that the sweep angles of

12     CoolIT's impeller blades are different from what you

13     would expect to see from straight radial blades?

14                MR. R. CHEN:   Objection.       Leading.

15     Outside the scope of the examination.                        18:35:51

16                THE WITNESS:   Well, the sweep -- the sweep

17     angles of the CoolIT are not 90 degrees from the

18     circumference, so they're manifestly not radial.

19     BY MS. BHATTACHARYYA:

20          Q     Let's go to paragraph 289 of Exhibit 291.         18:37:02

21          A     Okay.

22          Q     Actually, let's go to the recitation of

23     the claim limitation, which is marked as 17F, which

24     is right before paragraph 289.        And I will represent

25     to you that the bolded sentence starting with the            18:37:31

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1      word "activating," which is right before                            18:37:34

2      paragraph 289, recites the limitation from claim 17

3      of the '362 patent.

4           A     Okay.

5           Q     Can you take a moment to read that                       18:37:49

6      limitation?

7                 (Pause.)

8           A     I've read it.

9           Q     Okay.    Claim 17 of the '362 patent recites

10     "activating a pump to circulate a cooling liquid                    18:38:13

11     through the reservoir and the heat radiator, the

12     pump including a motor and an impeller having curved

13     blades, the impeller being positioned in the

14     reservoir."

15                Do you see that?                                         18:38:32

16          A     Yes.

17          Q     Claim 17 does not recite that the shape of

18     the impeller blade is curved or that the impeller

19     blades are curve shaped, right?

20                MR. R. CHEN:    Objection.      Leading.      Calls      18:38:49

21     for a legal conclusion.

22                THE WITNESS:    That's right.       It says

23     curved blades.     It doesn't use the word "shape."

24     BY MS. BHATTACHARYYA:

25          Q     Earlier during your cross, counsel for                   18:40:15

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1                   I, DAVID B. TUCKERMAN, Ph.D., do hereby
2      declare under penalty of perjury that I have read
3      the foregoing transcript; that I have made any
4      corrections as appear noted, in ink, initialed by
5      me, or attached hereto; that my testimony as
6      contained herein, as corrected, is true and correct.
7                   EXECUTED this ______ day of _____________,
8      2022, at ___________________, __________________.
                      (City)                         (State)
9
10                                  __________________________
                                    DAVID B. TUCKERMAN, Ph.D.
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1              I, the undersigned, a Certified Shorthand
2      Reporter of the State of California, do hereby
3      certify:
4              That the foregoing proceedings were taken
5      before me at the time and place herein set forth;
6      that any witnesses in the foregoing proceedings,
7      prior to testifying, were administered an oath; that
8      a record of the proceedings was made by me using
9      machine shorthand which was thereafter transcribed
10     under my direction; that the foregoing is a true
11     record of the testimony given.
12             Further, that if the foregoing pertains to the
13     original transcript of a deposition in a Federal
14     Case, before completion of the proceedings, review
15     of the transcript [ X ] was [               ] was not requested.
16             I further certify that I am neither
17     financially interested in the action nor a relative
18     or employee of any attorney or any party to this
19     action.
20             IN WITNESS WHEREOF, I have this date
21     subscribed my name:         January 14, 2022.
22
23
24                   <%7484,Signature%>
                     Catherine A. Ryan, RMR, CRR
25                   CSR No. 8239

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